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 2 District of Nevada

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 9

10                                 UNITED STATES DISTRICT COURT
11                                        DISTRICT OF NEVADA
12 UNITED STATES OF AMERICA,                         )
                                                     )
13                 Plaintiff,                        ) Case No. 2:04-CR-219-LDG-VCF
                                                     )
14          v.                                       )
                                                     )
15 MICHAEL ARMSTRONG,                                )
                                                     )
16                 Defendant.                        )
17               MOTION FOR SUPPLEMENTARY PROCEEDINGS (EXAMINATION
                                OF JUDGEMENT DEBTOR)
18

19          The United States of America, by and through Daniel G. Bogden, United States Attorney, and

20 Brian Pugh, Assistant United States Attorney, moves this Honorable Court for an order requiring

21 defendant, Michael Armstrong, to appear before a United States Magistrate Judge at a time and place to

22 be set by the court for examination supplementary to judgment pursuant to Rule 69 of Fed. R. Civ. P.

23 and N.R.S. 21.270.

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 1                                          POINTS AND AUTHORITIES

 2          The Federal Debt Collection Procedure Act (‘FDCPA’) is “the exclusive civil procedures for the

 3 United States … to recover a judgment on a debt.” 28 U.S.C. § 3001(a) (1). A debt is an amount owed

 4 “to the United States on account of …[an]other source of indebtedness to the United States….” 28

 5 U.S.C. § 3002(3)(B). A judgment is “a judgment … entered in favor of the United States in a court and

 6 arising from a … criminal proceeding….” 28 U.S.C. § 3002(8). A criminal money judgment against a

 7 defendant is a judgment entered as a debt in favor of the Government. See 28 U.S.C. § § 3001(a) (1),

 8 3002(3)(B) and (8), 3201, and 3202(a). The creation, duration and renewal of judgment liens are part of

 9 Subchapter C. See 28 U.S.C. § § 3201 and 3202(a). Since judgments include criminal money

10 judgments, the judgment lien is good for 20 years and can be renewed for another 20 years. See 28

11 U.S.C. § § 3002(8), 3201, and 3202(a).

12          Defendant’s debt is a judgment upon which the United States can collect and use any and all

13 remedies identified in the FDCPA, including discovery as to the debtor’s financial condition. See 28

14 U.S.C. § 3015.

15                                                  CONCLUSION

16          Wherefore, the United States respectfully requests that this Court order a judgment debtor

17 examination of the defendant.

18          This motion is based upon the attached Declaration and the pleadings and papers on file herein.
19          DATED this 8th day of October, 2014.
20                                                              DANIEL G. BOGDEN
                                                                United States Attorney
21
                                                                /s/ Brian Pugh
22
                                                                BRIAN PUGH
23                                                              Assistant United States Attorney

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 1                                           DECLARATION
 2                    FOR MOTION FOR SUPPLEMENTARY PROCEEDINGS
                          (EXAMINATION OF JUDGMENT DEBTOR)
 3

 4 STATE OF NEVADA )
                   )
 5 COUNTY OF CLARK )

 6

 7      Kim Bush, declares pursuant to 28 U.S.C. §1746 under penalty of perjury that the
 8       foregoing is true and correct.
 9      1. I am a Legal Assistant in the Financial Litigation Unit for the United States Attorney’s
10          Office, District of Nevada. I have custody of the records in this office pertaining to this

11          collection matter.
12      2. Judgment was entered, for the plaintiff and against defendant on, Michael Armstrong , for the
13          sum of $308,236.00, together with interest thereon from the date of judgment and court costs.

14      3. Michael Armstrong resides within the jurisdiction of this Court.
15      4. The judgment has not been satisfied, vacated, reversed, or barred by the Statute of
16          Limitations, and is one on which execution may properly issue.
17      5. The judgment remains unpaid.
18                                                             /s/Kim Bush
                                                              Kim Bush
19                                                            Legal Assistant
                                                              Financial Litigation Unit
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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3

 4 UNITED STATES OF AMERICA,                           )
                                                       )
 5                 Plaintiff,                          ) Case No. 2:04-CR-219-LDG-VCF
                                                       )
 6         v.                                          )
                                                       )
 7 MICHAEL ARMSTRONG,                                  )
                                                       )
 8                 Defendant.                          )
 9

10                ORDER FOR SUPPLEMENTARY PROCEEDINGS OF JUDGMENT
                                 DEBTOR EXAMINATION
11

12         On plaintiff’s motion and good cause appearing, the defendant, Michael Armstrong, is hereby
                                                                      3D
13 Ordered to appear before the United States Magistrate in courtroom _____, Lloyd D. George Federal
                                                                               1st
14 Courthouse, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, on the ______
           December
15 day of ________________,           1:00 p.m.
                             2014 at _____________, to then and there answer upon oath concerning the
16 property of the defendant and for such other proceedings as there may occur consistent with proceedings

17 supplementary to execution.

18         It is further ordered that you, the defendant, bring to the hearing the following:
19                 1. Your three most recent federal income tax returns with their attachments.
20                 2.    Copies of all personal and business financial statements concerning checking and
                        savings accounts for the past twelve months.
21
                   3. A copy of the titles to all you and your spouses’ vehicles, automobiles, boats,
22                    aircraft, etc
23                 4. Copies of your earnings statements (i.e. paychecks) for the past twelve months.
24                 5. Copies of your bills for the past twelve months to verify statements on the
                      financial form.
25

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 1         It is further ordered that a copy of this order shall be served upon the defendant by
                                    3 weeks calendar days before the hearing scheduled herein.
 2 private process service at least _________

 3         Failure to appear may subject you, the defendant, to punishment for contempt of court.
 4
                              October 14
 5         DATED this day of __________________ 2014.
 6

 7

 8                                                               _______________________________
                                                                 United States Magistrate Judge
 9

10
                                            IT IS FURTHER ORDERED that the government must
11 SUBMITTED BY:                            provide a court reporter for the Judgment Debtor
12 DANIEL G. BOGDEN                         Examination on December 1, 2014 at 1:00 p.m.
   United States Attorney                   IT IS FURTHER ORDERED that the service of
13
                                            process on defendant must be filed with the
14 /s/ Brian Pugh                           court by November 24, 2014.
   BRIAN PUGH
15 Assistant United States Attorney

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